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                                                                                                                             CO 538
                                                                                                                          Rev. 5/2020



                UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                        FOR THE DISTRICT OF COLUMBIA
GPGC LIMITED
         Plaintiff(s)

         vs.                                                                             Civil Action No.       24-cv-00169

GOV'T OF REPUBLIC OF GHANA
         Defendant(s)



                                     AFFIDAVIT IN SUPPORT OF DEFAULT

         I hereby certify under penalty of perjury, this 23d           day of April             ,   2024 , that I am the attorney
of record for the plaintiff in the above-entitled case; that the defendant(s)
THE GOVERNMENT OF THE REPUBLIC OF GHANA
was [were] (select one):
        ެ         personally served with process on                                                         .

         ެ         served via registered or certified mail pursuant to provisions of Rule 4(C) of the Superior Court of the
                   District of Columbia on (date the return receipt was signed by addressee):                                      .

         ެ         served via First Class Mail pursuant to provisions of Rule 4(C) of the Federal Rules of Civil Procedure on
                   (date the Acknowledgment Form was signed by addressee):                                                      .
         X         Served by court clerk pursuant to 28 U.S.C. 1608(a)(3) on January 29, 2024 (see Dkt. 8)
         ެ
         ✔         The authority for obtaining personal jurisdiction over the defendant served outside the District of Columbia
                   is: 28 U.S.C. 1330(b), 1608(a)(3)                               .

         I further certify under penalty of perjury that: no appearance has been entered by said defendant(s) in this case; no
pleading has been filed and none served upon the attorney for the plaintiff(s); (select one)
         ެ✔        no extension has been given and the time for filing has expired
         ެ         although an extension has been given, the time for filing has expired;
and the defendant is neither an infant nor an incompetent person.

         The Clerk is requested to enter a Default against said defendant(s).

                                                                                /s/ Robert K. Kry
                                                                                      Attorney for Plaintiff(s) [signature]
                                                                                Robert K. Kry
                                                                                MoloLamken LLP
                                                                                600 New Hampshire Avenue, N.W.
                                                                                Washington, D.C. 20037
490545                                                                          (202) 556-2011
Bar Id. Number                                                                    Name, Address and Telephone Number
